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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
________________________________________


     UNITED STATES OF AMERICA

                           Plaintiff(s)

            -vs-                                   03-CR-6044-2T


     MELVIN FLECHA-MENDOZA

                           Defendant(s)

________________________________________


            This case is transferred as to defendant Melvin Flecha-

Mendoza only, from Hon. Michael A. Telesca to Hon. Charles J.

Siragusa.

            SO ORDERED.



                                     S/ MICHAEL A. TELESCA
                                 MICHAEL A. TELESCA
                                 United States District Judge

Dated:   Rochester, New York
         January 13, 2006
